tv CaSe: 4207-CV-0017‘\(AP-EMB DOC #Z 1-2 Filed: 10/15/‘1 Of 30 Page|D #Z l

lN THE ClRCUIT COURT OF LEFLORE COUNTY, MISSISSlPPI
FOURTH JUDICIAL DISTRlCT

CHARLES E. EDWARDS, by and through
NEVONNIA TURNER, as ,Qonservator
for the use and benefit ofCI-iARLES E. EDWARDS,

PLAINTIFF,

vs. CAusE No_ 001 - 0 /’IQ?C?:

Jury Demanded ,
MARINER POST-ACUTE NETWORK, INC.;

GEORGE D. MORGAN; M. SCOTT ATHANS;

J.D. LEE; CHARLlE R. S[NCLAIR, JR.;

ANGELA M. WHITTINGTON; JO[-IN H. MERRELL;
JOHN DQES 1 THROUGH 10; and UNIDENTIFIED
ENTITlES l THROUGH 10;

(as to Greenwood Health & Rehabilitation Center

f/k/a Heritage Healthcare~Greenwood),

DEFENDANTS.

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COMPLAINT

COMES NOW the Plaintiff, NEVONNIA TURNER, as Conservator of CHARLES E.
EDWARDS, for the use and benefit of CHARLES E. EDWARDS, and by and through the
undersigned counsel, WILKES & MCHUGH, P.A., and for the cause of action against
Defendants, states and alleges:

JURISDICTIONAL STATEMENT

l. NEVONNIA TURNER is the Conservator of CHARLES E. EDWARDS, and
brings this action for the use and benefit of CHARLES E. EDWARDS, and pursuant to
Mississippi law.

2. CHARLES E. EDWARDS was a resident of GREENWOOD HEALTH &

REHABILITATION CENTER f/k/a HERITAGE HEALTHCARE-GREENWOOD

 

 

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CaSe: 4207-CV-OOl7.\(AP-EMB DOC #Z 1-2 Filed: 10/15/.2 Of 30 Page|D #Z 2

(“GREENWOOD HE_,ALTH”), a Skilled nursing facility located at 907 l'lighway 82 West_

Greenwood, Leflore County, Mississippi, from December 1994 to Present:

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s. Defendant, M,ARINER Posr-ACUTE NE"rwoRK, rNC., is a Delaware
corporation with its principal place of business at One Ravinia Drive, Ste. 1500,> Atlanta, GA
30346. At all times material to this lawsuit, Defendant, MARINER POST-ACUTE NETWORK,
lNC., has done business in Mississippi and continues to do business in Mississippi. Defendant’s.
l\/IARINER POST;ACUTE NETWORK, INC., contacts with Mississippi are systematic and
ongoing such that Defendant,'l\/iARINER POST-ACUTE NETWORK, lNC., could reasonably
expect to be haled into a Mississippi court. The agent for service for MARINER POST-ACU'l`E
NETWORK, INC. is Corporation Trust Company, Corporation Trust Center, 1209 Orange
Street, Wilmington, DE 19808. MARINER POST-ACUTE NETWORK, INC. was and remains
a corporation engaged in the custodial care of elderly, helpless individuals who are chronically

intirm, mentally impaired, and/or in need of nursing care and treatment.

4. Defendant, GEORGE D. MORGAN, was at all times material hereto the licensee
of GREENWOOD HEALTH. GEORGE D. MORGAN is a resident citizen of the State of
Georgia. Defendant, GEORGE D. MORGAN, for all times material to this lawsuit conducted
business in Mississippi and continues to do business in Mississippi. Defendant’s, GEORGE D.
MORGAN, contacts with Mississippi are systematic and ongoing such that Defendant,

GEORGE D. MORGAN, could reasonably expect to be haled into a Mississippi court.

5. Defendant, M. SCOTT ATHANS, was at all times material hereto the licensee of
GREENWOOD HEALTH. M. SCOTT ATHANS is a resident citizen of the State of New

Mexico. Defendant, M. SCOTT A'l`HANS, for all times material to this lawsuit conducted

Case: 4:07-0V-OOl7.VAP-E|\/|B Doc #: 1-2 Filed: 10/15/.'3 of 30 Page|D #: 3
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business in Mississippi and continues to do business in Mississippi. Defendant’s. M. SCOTT
ATI-IANS, contacts with Mississippi are systematic and ongoing such that Defendant, l\/l.

SCOTT ATHANS, could reasonably expect to be haled into a Mississippi court.

6. Defendant, J. D. LEE, was at all times material hereto the‘licensee of
GREENWOOD HEALTH. J. D. LEE is a resident citizen of the State of North Carolina.
Defendant, J. D. LEE, for all times material to this lawsuit conducted business in Mississippi and

continues to do business in Mississippi. Defendant’s, J. D. LEE, contacts with Mississippi are

systematic and ongoing such that Defendant, J. D. LEE, could reasonably expect to be haled into

a Mississippi court.

7. Defendant, CHARLIE R. SINCLAIR, JR., on information and belief, was the
nursing home administrator for GREENWOOD HEALTH, on or about the dates of the

occurrences which made_the basis of this lawsuit and is a resident citizen of the State of

Mississippi.

8. Defendant, ANGELA M. WHITTINGTON, on information and belief, was the
nursing home administrator for GREENWOOD HEALTH, on or about the dates of the
occurrences which made the basis of this lawsuit and is a resident citizen of the State of

Mississippi.

9. Defendant, JOHN H. MERRELL, on information and belief, was the nursing
home administrator for GREENWOOD HEALTH, on or about the dates of the occurrences

which made the basis of this lawsuit and is a resident citizen of the State of Mississippi.

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CaSe. 4.07-CV-0017.l/AP-E|\/|B DOC #Z 1-2 Filed: 10/15/.4 Of 30 Page|D #Z 4

10. Defendants John Does 1 through 10 are individuals who Plaintiff is unable to
currently identify despite diligent efforts. Said Defendants are named pdrsuant to Miss. R. Civ.
P, 9(h), insofar as their acts and/or omissions were negligent and/or otherwise tortious with
respect to the care and treatment of CHARLES E. EDWARDS during his_residency at
GREENWOOD HEALTH. Alternatively, said Defendants are liable for the negligent and/or
otherwise tortious acts and/or omissions of others with respect to the care and treatment of

CHARLES E. EDWARDS during his residency at GREENWOOD HEALTl-l.

11. Defendants Unidentiiied Entities 1 through 10 are entities who Plaintiff is unable
to currently identify despite diligent efforts. Said Defendants are named pursuant to Miss. R.
Civ. P. 9(h), insofar as their acts and/or omissions were negligent and/or otherwise tortious with
respect to the care and treatment of CHARLES E. EDWARDS during his residency at
GREENWOOD HEALTH. Alternatively, said Defendants are liable for the negligent and/or
otherwise tortious acts and/or omissions of others with respect to the care and treatment of

CHARLES E. EDWARDS during his residency at GREENWOOD HEALTH.

12. MARINER POS'l`-ACUTE NETWORK, INC. is a corporation that is protected
under bankruptcy laws and an automatic stay, pursuant to 11 USC§362(a), regarding claims
arising from December 1994 to January 18, 2000. Claims made against Defendant MARINEl{
POST-ACUTE NETWORK, INC. are post-petition claims which arose after the filing of the

bankruptcy petition and cover the period of January 19, 2000 to Present.

13. At all times material hereto, Defendants owned, operated, managed and/or
controlled, GREENWOOD HEALTH in Greenwood, Leflore County, Mississippi. The actions

of each of GREENWOOD HEALTH’s servants, agents and employees as set forth herein, are

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CaSe: 4207-CV-0017.‘i/AP-E|\/|B DOC #Z 1-2 Filed: 10/15/.5 Of 30 Page|D #Z 5

imputed tO MARINER POST-ACUTE NETWORK, lNC.; GEORGE D. MORGAN; M. SCOTT
ATHANS; J.D. LEE', CHARLIE R. SfNCLAlR, JR.; ANGELA M. WHI'i`;l`INGTON', JOHN l-l.

MERRELL', and JOHN DOES l THROUGH 10.

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14. Jurisdiction of this Court is proper in the Leilore County Circuit Court in that the
amount in controversy, exclusive of interest and costs, far exceeds the A~inimum jurisdictional

limits of this Court.

FACTUAL SUMMARY
15. On or about December 1994, CHARLES E. EDWARDS at the age of 40 was

admitted to GREENWOOD HEALTH, and he remains a resident of the nursing home.

16. Since infancy, CHARLES E. EDWARDS was no longer competent to handle his
own affairs, due to seve're'mental retardation with autism and aphasia, and his cognitive skills
were impaired He no longer had the conscious awareness necessary to be able to fully
comprehend all of the elements necessary to know that he had been the victim of nursing home
negligence and resident rights violations

17. Defendants were well aware of CHARLES E. EDWARDS’ medical condition
and the care that he required when they represented that they could adequately care for his needs.

18. Defendants held themselves out as being:

a) Skilled in the performance of nursing, rehabilitative and other medical

support services;

b) Properly staffed, supervised, and equipped to meet the total needs of its

nursing home residents;

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Case: 4:07-0V-OOl7.\{AP-EMB Doc #: 1-2 Filed: 10/15/.§ of 30 Page|D #: 6

c) _ _Able to specifically meet the total nursing home, medical, and physical

therapy needs of CHARLES E. EDWARDS and other residents like him; and,

d) _ w Licensed and complying on a continual basis with all rules, regulations.

and standards established for nursing homes, nursing home licensees and nursing home

administrators

19. Defendants failed to discharge their obligations of care to CHARLES E.
EDWARDS, As‘ a consequence thereof, CHARLES E. EDWARDS suffered catastrophic
injuries, disfigurement, extreme pain, suffering and mental anguish. The scope and severity of
the recurrent wrongs inflicted upon CHARLES E. EDWARDS while under the care of the
facility accelerated the deterioration of his health and physical condition beyond that caused by
the normal aging process and resulted in physical and emotional trauma which includes, but is

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not limited to:

a) pneumonia;
b) malnutrition;
c) dehydration;

d) multiple falls;

e) urinary tract infections;

f) multiple bruises and skin tears;

g) lacerations requiring stitches;

h) numerous fecal impactions with related complications;
i) peg site infections;

j) kidney infections;

k) poor hygiene;

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Case: 4:07-cv-0017.vAP-EMB Doc #: 1-2 Filed: 10/15/.7 of 36 PagelD #: 7

l) . .sepsis and other blood-borne infections;
m) contractures;
n) multiple pressure sores; and
o) loss of':'weight.
20. All ofthe above identified injuries, as well as the conduct specified below, caused

CHARLES E. EDWARDS to lose his personal dignity and caused extreme and unnecessary

pain. degradation, anguish, otherwise unnecessary hospitalizations, disfigurement, and emotional

iral,lma.

21. The wrongs complained of herein were of a continuing nature, and occurred

throughout CHARLES E. EDWARDS’ stay at Defendants’ facility.

22. Plaintiff alleges that on all of the occasions complained of herein, CHARLES E.
EDWARDS was under' the care, supervision, and treatment of the agents and/or employees of
Defendants and that the injuries complained of herein were proximately caused by the acts and

omissions of Defendants named herein,

23. Defendants had vicarious liability for the acts and omissions of all persons or
entities under Defendants’ control, either directly or indirectly, including its employees, agents,
consultants, and independent contractors, whether in-house or outside entities, individuals,
agencies, or pools causing or contributing to the injuries of` CHARLES E. EDWARDS.

24. Defendants have joint and several liability for the actions complained of` herein x
because they consciously and deliberately pursued a~common plan or design to commit the

tortious acts described in this Complaint and these Defendants actively took part in such actions.

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CaSe: 4207-CV-0017.VAP-E|\/|B DOC #Z 1-2 Filed: 10/15/.8 Of 30 Page|D #Z 8

COUNT_ONE: NEGLIGENCE AGAINST MARINER POST-ACUTE
NETWORK, INC.: AND JOHN DOES 1 THROUGH 10

25. This count is brought for post-petition claims accruing post the filing of a
bankruptcy petition. ._ .;J,'.
26. 'fhe Plaintiff re-alleges and incorporates the allegations in paragraphs 1-24 as if

set forth herein,

27. Defendants owed a duty to residents, including CHARLES E. EDWARDS, to
provide adequate and appropriate custodial care and supervision, which a reasonably careful

person would provide under similar circumstances

28. Defendants’ employees owed a duty to residents, including CHARLES E.
EDWARDS, to exercise reasonable care in providing care and services in a safe and beneficial

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mann€l'.

29. Defendants breached this duty by failing to deliver care and services that a
reasonably careful person would have provided under similar circumstances and by failing to

prevent the mistreatment, abuse and neglect of CHARLES E. EDWARDS.

30. The negligence of the Defendants, their employees, agents and consultants,

includes, but is not limited to, one or more of the following acts and omissions:

a) The failure to provide CHARLES E. EDWARDS with appropriate

nutrition to prevent malnutrition;

b) The failure to provide CHARLES E. EDWARDS with adequate fluid

intake to prevent dehydration;

CaSe: 4207-CV-0017.l/AP-E|\/|B DOC #Z 1-2 Filed: 10/15/.9 Of 30 Page|D #Z 9

C) .‘The failure to provide and ensure that CHARLES E. EDWARDS received
adequate hygiene and sanitary care to prevent pressure sores and infections from

developing and progressing;

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d) The failure to provide adequate turning and repositioning of CHARLES E.
EDWARDS in order to provide pressure relief so as to prevent the formation of pressure

sores on his body, contractures and infections;

e) n The failure to provide even the minimum number of staff necessary to

assist the residents with their needs;
f) The failure to provide adequate supervision for CHARLES E. EDWARDS
to prevent him from falling and being injured by falls within the facility;

g) The failure to properly assess CHARLES E. EDWARDS for the risk of

falling; - ,

h) - ~The failure to protect CHARLES E. EDWARDS from falling within the
facility;

i) The failure to protect CHARLES E. EDWARDS from harm within the
facility;

j) The failure to respond to significant signs and symptoms of change in the

condition of CHARLES E. EDWARDS;

k) The failure to develop, implement, and update an adequate and appropriate
resident care plan to meet the needs of CHARLES E. EDWARDS;

l) The failure to maintain appropriate records, including obvious failure to

monitor and document significant changes in CHARLES E. EDWARDS’ condition;

CaSe: 4207-CV-00174.AP-E|\/|B DOC #Z 1-2 Filed: 10/15/0.0 Of 30 Page|D #Z 10

m) . .The failure to provide sufficient numbers of qualified personnel. including
nurses, licensed practical nurses, certified nurse assistants,/and medication aides

(hereinafter “nursing personnel”) to meet the total needs of CHARLES E. EDWARDS,

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n) 4 n vi`he failure to increase the number of personnel to ensure that CHARLES
E. EDWARDS:
1) received timely and accurate care assessments;
2) received prescribed treatment, medication, and diet;
3) received necessary supervision; and
4) received timely intervention due to a significant change in
condition.
o) The failure to provide nursing personnel sufficient in number to ensure

that CHARLES,'E*.~ EDWARDS attained and maintained his highest level of physical,
mental and psychosocial well-being',

p) l The failure to provide adequate supervision to the nursing staff so as to
ensure that CHARLES E. EDWARDS received adequate and proper nutrition, fiuids,
therapeutic diet, sanitary care treatments and medications, and sufficient nursing
observation and examination of the responses, symptoms, and progress in the physical
condition of CHARLES E. EDWARDS;

q) The failure to adequately assess, evaluate and supervise nursing personnel
so as to ensure that CHARLES E. EDWARDS received appropriate nursing care, in
accordance with Defendants’ policy and procedures manual, and the statutorily mandated
regulations implemented by the Mississippi Department of Health and its agents,

including the Office of Licensing and Certification;

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Case: 4:07-cv-00174.AP-EMB Doc #: 1-2 Filed: 10}15/0.1 of 30 PagelD #: 11

1‘) _ . The failure to provide a nursing staff that was properly staffed, qualified.

and trained;

s) The failure to provide and ensure an adequate nursing care plan based on

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the needs OrcrrARLi§s E. EDwARDs;

t) The failure to provide and ensure adequate nursing care plan revisions and
modifications as the needs of CHARLES E. EDWARDS changed;

u) The failure to implement and ensure that an adequate nursing care plan for
CHARLE3 E. EDWARDS was followed by nursing personnel;

v) The failure to adopt adequate guidelines, policies, and procedures for
documenting, maintaining files, investigating, and responding to any complaint regarding
the quantity of resident care, the quality of resident care, or misconduct by employees,
irrespective of whether such complaint derived from a state survey agency, a resident of
said facility, an employee of the facility or any interested person;

w) The failure to take reasonable steps to prevent, eliminate, and correct

deficiencies and problems in resident care;

x) The failure to provide CHARLES E. EDWARDS with adequate and
appropriate observation and examination following an injury so as to timely and

adequately provide appropriate emergency medical care;

y) The failure to properly and timely notify CHARLES E. EDWARDS’
attending physician significant changes in CI-IARLES E. EDWARDS’ physical
condition, to wit: the development of pressure sores, lesions, contractures, falls,
lacerations, gastrointestinal bleeding, vomiting episodes, fecal impactions, malnutrition,

weight loss, infections, and persistent, unresolved problems relating to the care and

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Case: 4:07-cv-00171.AP-EMB Doc #: 1-2 Filed: 10/15/0.2 of 30 PagelD #: 12

physical condition of CHARLES E. EDWARDS resulting in needless hospitalization

and unnecessary pain, agony, and suffering on the part of CHARI;lES E. EDWARDS;

z) . _. The failure to provide a safe environment;

aa) The failure to maintain medical records on CHARLES E. EDWARDS in
accordance with accepted professional standards and practices that are complete.

accurately documented, readily accessible, and systematically organized with respect to:

l) the diagnosis of CHARLES E. EDWARDS;
2) the treatment of CHARLES E. EDWARDS; and

3) the assessment and establishment of appropriate care plans of care
and treatment.

bb) T.he» failure to adequately and appropriately monitor Cl-IARLES E.

EDWARDS and r'ecognize significant changes in his health status',

cc) The failure to prevent CHARLES E. EDWARDS from developing
multiple urinary tract infections;

dd) The failure to prevent CHARLES E. EDWARDS from developing kidney
and peg site infections;

ee) The failure to prevent CHARLES E. EDWARDS from developing
numerous fecal impaction, requiring medical assistance for relief; and

ff) The failure to prevent CHARLES E. EDWARDS’ personal items from

being lost and/or stolen.

31. A reasonably careful nursing home and nursing horne licensee, operating under

similar circumstances, would foresee that the failure to provide the ordinary care listed above

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CaSe: 4207-CV-00174.?\P-EMB DOC #Z 1-2 Filed: 10/15/0.3 Of 30 Page|D #Z 13

would result in devastating injuries to CHARLES E. EDWARDS,

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32. As a direct and proximate result of the negligence of Defendants as set out above,
CHARLES E. E'D'WARD/Sl;;, suffered injuries, including falls, lacerations, dehydration.
malnutrition, weight loss, urinary tract infections, kidney infections, fecal impaction, sepsis,
pneumonia, pressure sores, contractures. infections, and also suffered extreme pain, suffering,
mental anguish, embarrassment, and fright, all of which required hospitalization and medical
treatment, and all of which required CHARLES E. ED_WARDS to incur significant hospital and

medical expenses.

33. WHEREFORE, based on such conduct of Defendants as set forth above, Plaintiff
asserts a claim forjudgment for all compensatory damages and punitive damages against
Defendants including, but not limited to, medical expenses, physical pain, suffering, mental

anguish, disability, loss of enjoyment of life, humiliation, disfigurement and fright in an amount

to be determined by the jury, plus costs and all other relief to which Plaintiff is entitled by law.

COUNT TWO: NEGLIGENCE AGAINST GEORGE D. MORGAN; M. SCOT'I`
ATHANS; J. D. LEE; AND JOHN DOES 1 THROUGH 10 '

34. The Plaintiff re-alleges and incorporates the allegations in paragraphs 1-24 as if

set forth herein. `

35. Defendants owed a duty to residents, including CHARLES E. EDWARDS, to
provide adequate and appropriate custodial care and supervision, which a reasonably careful

person would provide under similar circumstances

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oase: 4:07-cv-oo17z.AP-EMB Doc #: 1-2 Filed: 10/15/0.4 of 30 PagelD #: 14

36. Defendants employees owed a duty to residents, including CHARLES E.
EDWARDS, to exercise reasonable care in providing care and services in a safe and beneficial

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37. Defendants breached this duty by failing to deliver care and services that a
reasonably careful person would have provided under similar circumstances and by failing to

prevent the mistreatment, abuse and neglect of CHARLES E. EDWARDS.

38. The'negligence of the Defendants, their employees, agents and consultants,

includes, but is not limited to, one or more of the following acts and omissions:

a) The failure to provide CHARLES E. EDWARDS with appropriate
nutrition to prevent malnutrition;

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b) The failure to provide CHARLES E. EDWARDS with adequate fluid

intake to prevent dehydration;

c) The failure to provide and ensure that CHARLES E. EDWARDS received

adequate hygiene and sanitary care to prevent pressure sores and infections from

developing and progressing;

d) The failure to provide adequate turning and repositioning of CHARLES E.
EDWARDS in order to provide pressure relief so as to prevent the formation of pressure

sores on his body, contractures and infections;

e) The failure to provide even the minimum number of staff necessary to

assist the residents with their needs;

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CaSe. 4.07-CV-00174.AP-E|\/|B DOC #Z 1-2 Fl|ed: 10/15/0.5 Of 30 Page|D #Z 15

0 _ ,The failure to provide adequate supervision for CHARLES E. EDWARDS

to prevent him from falling and being injured by falls within the facility;

g) The failure to properly assess CHARLES E. EDWARDS for the risk of

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falling;

h) The failure to protect CHARLES E. EDWARDS from falling within the
facility;

i) The failure to protect CHARLES E. EDWARDS from harm within the
facility;

j) The failure to respond to significant signs and symptoms of change in the

condition of CHARLES E. EDWARDS;

k) The failure to develop, implement, and update an adequate and appropriate
resident care plan tp meet the needs of CHARLES E. EDWARDS;

l) :l` he failure to maintain appropriate records, including obvious failure to
monitor and document significant changes in CHARLES E. EDWARDS’ condition;

m) The failure to provide sufficient numbers of qualified personnel, including
nurses, licensed practical nurses, certified nurse assistants, and medication aides

(hereinafter “nursing personnel”) to meet the total needs of CHARLES E. EDWARDS;

n) The failure to increase the number of personnel to ensure that CHARLE~S
E. EDWARDS:
1) received timely and accurate care assessments;
1 2) received prescribed treatment, medication, and diet;
3) received necessary supervision; and
4) received timely intervention due to a significant change in

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CaSe: 4207-CV-00174.0\P-E|\/|B DOC #Z 1-2 Filed: 10/15/0.3 Of 30 Page|D #Z 16

condition.

o) The failure to provide nursing personnel sufficient in number to ensure
that CHARLES E. EDWARDS attained and maintained his highest level`of physical.

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mental and ipsychosocial well-being;

p) The failure to provide adequate supervision to the nursing staff so as to
ensure that CHARLES E. EDWARDS received adequate and proper nutrition. fluids,
therapeutic diet, sanitary care treatments and medications, and sufficient nursing
observation and examination of the responses, symptoms, and progress in the physical
condition of CHARLES E. EDWARDS;

q) The failure to adequately assess, evaluate and supervise nursing personnel
so as to ensure that CHARLES E. FEDWARDS received appropriate nursing care, in
accordance with,Defendants’ policy and procedures manual, and the statutorily mandated
regulations implemented by the Mississippi Department of Health and its agents.
including the Office of Licensing and Certification;

r) The failure to provide a nursing staff that was properly staffed, qualified,
and trained;

s) The failure to provide and ensure an adequate nursing care plan based on
the needs of CHARLES E. EDWARDS;

t) The failure to provide and ensure adequate nursing care plan revisions and
modifications as the needs of CHARLES E. EDWARDS changed;

u) The failure to implement and ensure that an adequate nursing care plan for

CHARLES E. EDWARDS was followed by nursing personnel;

oase: 4:07-cv-oo174.AP-EMB Doc #: 1-2 Filed: 10/15/0.70136 PagelD #: 17

v) _ 'The failure to adopt adequate guidelines, policies, and procedures for
documenting, maintaining files, investigating, and responding to any complaint regarding
the quantity of resident care, the quality of resident care, or misconduct by employees.
irrespective of whethei`such complaint derived from a state survey agencyt a resident of
said facility, an employee of the facility or any interested person;

w) The failure to take reasonable steps to prevent. eliminate, and correct

deficiencies and problems in resident care;

x) The failure to provide CHARLES E. EDWARDS with adequate and
appropriate observation and examination following an injury so as to timely and

adequately provide appropriate emergency medical care;

y) The failure to properly and timely notify Cl-IARLES E. EDWARDS’
attending physician significant changes in CHARLES E. EDWARDS’ physical
condition, to wit: the development of pressure sores, lesions, contractures, falls,
lacerations, gastrointestinal bleeding, vomiting episodes, fecal impactions, malnutrition,
weight loss, infections, and persistent, unresolved problems relating to the care and

physical condition of CHARLES E. EDWARDS resulting in needless hospitalization,

and unnecessary pain, agony, and suffering on the part of CHARLES E. EDWARDS;
z) The failure to provide a safe environment;

aa) The failure to maintain medical records on CHARLES E. EDWARDS in
accordance with accepted professional standards and practices that are complete,

accurately documented, readily accessible, and systematically organized with respect to:

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Case. 4:07-oV-00174‘AP-EMB Doo #: 1-2 Filed: 10/15/0.8 of 30 Page|D #: 18

_. 1) rne diagnosis echARLI-;s E. EDWARDS;
2) the treatment er cHARLi-;s E. EDWARDs-,'n'nd
3) the assessment and establishment of appropriate care plans of care
" and treafment.
bb) The failure to adequately and appropriately monitor CHARLES E.
EDWARDS and recognize significant changes in his health status;
cc) The failure to prevent CHARLES E. EDWARDS from developing
multiple urinary tract infections;
dd) The failure to prevent CHARLES E. EDWARDS from developing kidney
and peg site infections',
ee) _. The failure to prevent CHAR_LES E. EDWARDS from developing
numerous fecal impaction, requiring medical assistance for relief; and
ff) fhe failure to prevent CHARLES E. EDWARDS’ personal items from
being lost and/or stolen.
39. A reasonably careful nursing home and nursing home licensee, operating under

similar circumstances,» would foresee that the failure to provide the ordinary care listed above

would result in devastating injuries to CHARLES E. EDWARDS.

40. As a direct and proximate result of the negligence of Defendants as set out above',
CHARLES E. EDWARDS suffered injuries, including falls, lacerations, dehydration,
malnutrition, weight loss, urinary tract infections, kidney infections, fecal impaction, sepsis,
pneumonia, pressure sores, contractures, infections, and also suffered extreme pain, suffering,
mental anguish, embarrassment, and fright, all of which required hospitalization and medical

treatment, and all of which required CHARLES E. EDWARDS to incur significant hospital and

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CaSe: 4207-CV-0017f.AP-E1\/|B DOC #Z 1-2 Filed: 10/15/0.9 Of 30 Page|D #Z 19

medical expenses _

41. WHEREFORE, based on such conduct of Defendants as set forth above, Plaintiff
asserts a claim for judgment for all compensatory damages and punitive damages against
Defendants including, 'but not limited to, medical expenses, physical pain, suffering, mental
anguish, disability, loss of enjoyment of life, humiliation, disfigurement and fright in an amount
to be determined by thejury, plus costs and all other relief to which Plaintiff is entitled by law.

COUNT THREE: NEGLlGENCE CLAIM AGAINST DEFENDANTS,.CHARL[E R.

SINCLAIR. JR., ANGELA M. WHITTINGTON. JOHN H. MERRELL, AND
JOHN DOES 1 THROUGH 10

42. The Plaintiff re-alleges and incorporates the allegations in paragraphs 1-24 as if
set forth herein,

43. At times material to this suit, Defendants, CHARLlE R. SINCLAIR, JR., ANGELA
M. WHITTINGTON, J0lji\1 H. MERRELL, and JOHN DOES 1 THROUGH 10, were licensed as
nursing home administrators by the Mississippi 13on of Licensure for Nursing Home
Administrators. As licensed nursing home administrators, Defendants, CHARLIE R.v SlNCLAlR,
JR., ANGELA M. WHITTINGTON, JOHN H. MERRELL, and JOHN DOES 1 THROUGl-I 10,
were responsible for performing the acts of management, supervision, and generally in charge of
nursing homes.

44. At times material to this suit, Defendants, CHARLIE R. SINCLAIR, JR., ANGELA
M. WHI'l"l`ING'l`ON., JOHN H. MERRELL, and JOHN DOES 1 THROUGH 10, were the licensed
nursing home administrators of GREENWOOD HEALTH, and were responsible for performing the
acts of management, supervision, and generally in charge of said facility,

45. The acts or omissions set forth above are matters which were within Defendants’,

Cl-IARLIE R. SINCLAIR, JR., ANGELA M. WHITTINGTON, JOHN H. MERRELL, and JOHN

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CaSe: 4207-CV-00174.AP-E1\/|B DOC #Z 1-2 Filed: 10/15/0.3 0130 Page|D #Z 20

DOES l THROUGl-_l_ 10, areas of responsibility l\/lore specifically, Defendants. CHARL[E R.
smcLAiR, JR., ANGELA M. leTrrNoroN, JOHN u. MERRELL`,l ana JOHN Does 1
THROUGH 10, were negligent in at least the following particulars: v

a) ' n the failiire to hire an adequate amount of nursing personnel an_d other agents
and employees of said facility, that were also qualified. to assure that CHARLES E.
EDWARDS received adequate care, treatment, and services, in accordance with the
mandates set forth in State laws, and in the nursing home policy and procedure manual;

b) ' the failure to adequately supervise the nursing personnel and other agents
and employees of said facility to assure that CHARLES E. EDWARDS received adequate
care, treatment, and services, in accordance with the mandates set forth in State laws, and in
the nursing home policy and procedure manual; y

c) thefailure to adequately train the nursing personnel and other agents and
employees of said facility to assure that CHARLES E. EDWARDS received adequate care,
treatment, and services, in accordance with the mandates set forth in State laws, and in the
nursing horne policy and procedure manual; and

d) the failure to ensure that adequate records were prepared and maintained
to assure that CHARLES E. EDWARDS received adequate care, treatment, and services,
in accordance With the mandates set forth in State laws, and in the nursing horne policy

and procedure manual.

46. As a direct and proximate result of Defendants’, CHARLIE R. SINCLAIR, JR.,
ANGELA M. WHITTINGTON, JOHN H. MERRELL, and JOHN DOES 1 THROUGH 10, failure
to perform their responsibilities as set forth above, CHARLES E. EDWARDS suffered injuries,

including falls, lacerations, dehydration, malnutrition, weight loss, urinary tract infections,

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ase 4 07 cv 0017A.AP-EI\/|B Doc #. 1-2 Fl|ed: 10/15/0.1 of 30 Page|D #: 21

kidney infections, fecal impaction. sepsis. pneumonia, pressure sores, contractures, infections
and also suffered extreme pain, suffering, mental anguish, embarrassment, disfigurement and
fright. all of which required hospitalization and medical treatment, and_all of which required

CHARLES E. EDW~ARDS to incur significant hospital and medical expenses.

47. WHEREFORE, based on such conduct of Defendants as set out above, Plaintiff
asserts a claim for judgment for all compensatory and punitive damages against Defendants
including, but not_ limited to, medical expenses, physical pain, suffering, mental anguish.
disability, loss of enjoyment of life, humiliation, disfigurement and fright in an amount to be

determined by the jury, plus costs and all other relief to which Plaintiff is entitled by law.

COUNT FOUR: MEDICAL MALPRACTICE AGAINST MARINER POST-ACUTE
NETWORK. INC. AND JOHN DOES 1 THROUGH 10

48. This count¢is brought for post-petition claims accruing post the filing of a

bankruptcy petition.
49. Plaintiff hereby re-alleges and incorporates the allegations in paragraphs 1-24 as

if fully set forth herein.

50. Defendants owed a duty to residents, including CHARLES E. EDWARDS, to
hire, train, and supervise employees so that such employees delivered care and services to
residents in a safe and beneficial manner.

51. Defendants’ employees owed a duty to residents, including CHARLES E.
EDWARDS, to render care and services as a reasonably prudent and similarly situated nursing

home employee would render, including, but not limited to, rendering care and services in a safe

and beneficial manner.

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CaSe: 4:07-CV-00174.AP-E1\/|B DOC #: 1-2 Filed: 10/15/0.2 Of 30 Page|D #: 22
52. Defendants owed a duty to assist all residents including CHARLES E.

EDWARDS, in attaining and maintaining the highest level of physical, mental, and psychosocial
well-being. l

53. Defendants failed to meet the standard of care and violated its duty of care to
CHARLES 'E. EDWARDS through mistreatment, abuse and neglect. The negligence of

Defendants, their employees, and consultants, includes, but is not limited to, one or more of the

following acts and omissions:
b) _ The failure to properly notify a doctor upon significant changes in
CHARLES E. EDWARDS’ condition;
c) The failure to provide adequate therapeutic and rehabilitative services to

maintain CHARLES E. EDWARDS’ mobility and range of motion and to prevent

contractures;

'»'»

d) -T he failure to respond to significant signs and symptoms of change in the
condition of CHARLES E. EDWARDS;

e) The failure to adequately and timely assess, monitor and/or treat the
development and progression of pressure sores and infection in CHARLES E.
EDWARDS;

f) The failure to provide proper custodial care, and wound care and to
prescribe and administer proper medication to prevent CHARLES E. EDWARDS’
existing medical conditions to worsen to the point of becoming life-threatening;

g) The failure to properly assess CHARLES E. EDWARDS for the risk of

development of pressure sores and infections;

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oase: 4:07-cv-oo17z.AP-EMB Doc #: 1-2 Filenl: 10/15/0.3 of 30 PagelD #: 23

h) _ _'I`he failure to properly assess CHARLlES E. EDWARDS for the risk of

falling; /;

i) The failure to provide adequate supervision for CHARLES E. EDWARDS

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to prevent him from falling within the facility; 7

j) The failure to protect CHARLES E. EDWARDS from falling within the
facility;

k) The failure to develop, implement, and update an adequate and appropriate
resident care plan to meet the needs of CHARLES E. EDWARDS;

l) The failure to maintain appropriate records, including obvious failure to
monitor and document significant changes in CHARLES E. EDWARDS’ condition;

m) .. The failure to provide sufficient numbers of qualified personnel, including
nurses, licensed, practical nurses, certified nurse assistants, and medication aides
(hereinafter “nursi,ng personnel”) to meet the total needs of CHARLES E. EDWARDS;

n) The failure to increase the number of nursing personnel to ensure that

CHARLES E. EDWARDS:

1. received timely and accurate care assessments;

2. received prescribed treatment, medication, and diet;

3. received necessary supervision; and

4. received timely nursing and medical intervention due to a significant

change in condition;

o) The failure to provide nursing personnel sufficient in number to provide
proper treatment and assessment to CHARLES E. EDWARDS and other residents in

order to protect CHARLES E. EDWARDS’ skin integrity and to prevent the formation of

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Case: 4:07-oV-0017£.AP-E|\/|B Doo #: 1-2 Filed: 10/15/0.4 of 30 Page|D #: 24

pressure sores, lesions, contractures, and infections;

p) The failure to provide nursing personnel sufficient in number to ensure
that CHARLES E. EQWARDS attained and maintained his highest level lof physical.

mental and psychosocial well-being;

q) The failure to provide adequate supervision to the nursing staff so as to
ensure that CHARLES E. EDWARDS received adequate and proper nutrition, fluids.
therapeutic 'diet, sanitary care treatments, medications, and skin care to prevent the
formation of pressure sores and lesions, to prevent contractures and infection, and
sufficient nursing observation and examination of the responses, symptoms, and progress

in the physical condition of CHARLES E. EDWARDS;

r) Thefailure to adequately assess, evaluate, and supervise nursing personnel
so as to ensure' the CHARLES E. EDWARDS received appropriate nursing care, in
accordance with Defendants’ policy and procedures manual, and the statutorily mandated
regulations implemented by the Mississippi Department of Health and its agents,

including the Office of Licensing and Certification;

s) The failure to provide a nursing staff that was properly staffed, vqualified,

and trained;

t) The failure to provide and ensure an adequate nursing care plan based on

the needs of CHARLES E. EDWARDS;

u) The failure to provide and ensure adequate nursing care plan revisions and

modifications as the needs of CHARLES E. EDWARDS changed;

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CaSe: 4207-CV-00174.'»§\P-E1\/|B DOC #Z 1-2 Filed: 10/15/0.5;01c 30 Page|D #Z 25

v) ._The failure to implement and ensure that an adequate nursing Care plan for

CHARLES E. EDWARDS was followed by nursing personnel;

v) The failure to adopt adequate guidelines, policies, and procedures for
documenting. maintaining files. investigating, and responding to any complaint regarding
the quantity of resident care, the quality of resident care. or misconduct by employees.
irrespective of Whether such complaint derived from a state survey agency, a resident of

said facility,_ an employee of the facility or any interested person;

w) The failure to take reasonable steps to prevent, eliminate, and correct

deficiencies and problems in resident care;

x) The failure to provide CHARLES E. EDWARDS with adequate and
appropriate observation and examination following an injury so as to timely and

adequately provide appropriate emergency medical care;

y) The failure to properly assess CHARLES E. EDWARDS for the risk of

development of pressure sores, skin tears, bruises, lesions, contractures, and infection;

z) The failure to provide a proper mattress and bedding for CHARLES E.

EDWARDS, protective devices and pressure relief devices;

aa) 'I`he failure to provide CHARLES E. EDWARDS with adequate and
appropriate wound care, including timely dressing changes, so as to prevent the

aggravation and deterioration of pressure sores and lesions on his body;

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oase: 4:07-ov-oo174.aP-EMB Doo #: 1-2 Fileol: 10/15/0.6 of so PagelD #: 26

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bb) ._rhe rannre to provide CHARLES E.l EDWARDS with adequate and
appropriate observation and examination for skin breakdown" so as to timely and
adequately intervene to prevent the formation of ulcerated, pus-in_filtrated, festering, and

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necrotic sores and lesions on his body;

cc) The failure to provide CHARLES E. EDWARDS with adequate and

appropriate care so as to prevent the development, aggravation and progression of

infection;

dd) The failure to provide Cl-IARLES E. EDWARDS with adequate and
appropriate observation and examination so as to timely and adequately intervene to

prevent the development, aggravation and progression of infection;

ee) T-he, failure to provide CHARLES E. EDWARDS with adequate and
appropriate nursing care, treatments and medication for pressure sores after development

over the body of CHARLES E. EDWARDS;

ff) The failure to provide CHARLES E. EDWARDS with adequate and
appropriate nursing care, treatments and medication for infection after the development

of infection in the body of CHARLES E. EDWARDS;

gg) The failure to provide care, treatment, and medication in accordance with

physician’s orders;

hh) The failure to properly and timely notify CHARLES E. EDWARDS’
attending physician significant changes in CHARLES E. EDWARDS’ physical

condition, to wit: the development of pressure sores, lesions, contractures, falls,

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CaSe: 4:07-CV-00174.AP-E|\/|B DOC #: 1-2 Filed: 10/15/0.7 of 30 Page|D #: 27

lacerations, gastrointestinal bleeding, vomiting cpiSOd€S, fccal impactiOnS, malnutrition,
weight loss, infections, and persistent, unresolved problems relating to the care and
physical condition of CHARLES E. EDWARDS resulting in needless hospitalization.

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and unnecessary pain: agony, and suffering on the part of CHARLES E. EDWARDS;

ii) The failure to provide CHARLES E. EDWARDS with adequate and

appropriate assessment for fluid management to prevent dehydration;

jj) ° The failure to maintain an adequate and appropriate fluid maintenance

pI'Ogl‘aITl;

kk) The failure to ensure that CHARLES E. EDWARDS received adequate
assessment of his nutritional needs;

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ll) The failure to provide a safe environment;

mm) The failure to maintain medical records on CHARLES E. EDWARDS in
accordance with accepted professional standards and practices that are complete,

accurately documented, readily accessible, and systematically organized with respect to:

1. the diagnosis of cHARLEs E. EDWARDS;
2. the treatment of CHARLES E. EDWARDS; and
3. the assessment and establishment of appropriate care plans of care and

treatment;

nn) The failure to adequately and appropriately monitor CHARLES E.

EDWARDS and recognize significant changes in his health status;

Case: 4:07-ov-oo17d.aP-EMB Doo #: 1-2 Fileol: 1o/15/o.s of 30 PagelD #: 2a

oo) _ _The failure to prevent CHARLES E. EDWARDS` personal items from

being lost and/or stolen;

pp) _ The faiiiire to properly notify the family of CHARLES E. EDWARDS of

significant changes in his health status; and

qq) The failure to provide and perform adequate range of motion exercises and
therapy to prevent contractures which resulted in excruciating pain and horrible

disfigurement to CHARLES E. EDWARDS,

54. A reasonably prudent nursing home, nursing home licensee or nursing home
administrator, operating under the same or similar conditions, would not have failed to provide
the care listed in the above complaint Each of the foregoing acts of negligence on the part of

Defendants was a proximate cause of CHARLES E. EDWARDS’ injuries, CHARLES E.

EDWARDS’ injuries wer'e all foreseeable to Defendants.

55. Defendants' conduct in breaching the duties owed to CHARLES E. EDWARDS
was negligent, grossly negligent, willful, wanton, malicious and reckless.

56. As a direct and proximate result of such negligent, grossly negligent, willful,
wanton, reckless and malicious conduct, CHARLES E. EDWARDS suffered injuries, including
falls, lacerations, dehydration, malnutrition, weight loss, urinary tract infections, kidney
infections, fecal impaction, sepsis, pneumonia, pressure sores, contractures, infections, and also
suffered extreme pain, suffering, mental anguish, embarrassment, and fright, all of which
required hospitalization and medical treatment, and all of which required CHARLES E.

EDWARDS to incur significant hospital and medical expenses,

CaSe: 4207-CV-00174.AP-E1\/|B DOC #Z 1-2 Filed: 10/15/0.9 Of 30 Page|D #Z 29

57. WHE_REFORE, based on such conduct of Defendants as set forth above, Plaintiff
asserts a claim for judgment for all compensatory damages and punifive damages against
Defendants including, but not limited to, medical expenses, physical pain, suffering, mental
anguish, disability, 'dishgurefii:nt, loss of enjoyment of life, humiliation, and fright _in an amount
to be determined by the-jury, plus costs and all other relief to which Plaintiff is entitled by law.

COUNT FIVE: MEDICAL MALPRACTICE AGAlNST GEORGE D. MORGAN;
M. SCOTT ATHANS; J.D. LEE; CHARLIE R. SINCLAIR, JR.; ANGELA M.
WHITTINGTON; JOHN H. MERRELL; AND JOHN DOES 1 THROUGH 10

58. Plaintiff hereby re-alleges and incorporates the allegations in paragraphs 1-24 as

if fully set forth herein.

59. Defendants owed a duty to residents, including CHARLES E. EDWARDS, to

hire, train, and supervise employees so that such employees delivered care and services to
residents in a safe and beneficial manner.

60. Defendants’ employees owed a duty to residents, including CHARLES E.
EDWARDS, to render care and services as a reasonably prudent and similarly situated nursing
home employee would render, including, but not limited to, rendering care and services in a safe
and beneficial manner. 9

61. 1 Defendants owed a duty to assist all residents, including CHARLES E.
EDWARDS, in attaining and maintaining the highest level of physical, mental, and psychosocial
well-being.

62. Defendants`failed to meet the standard of care and violated its duty of care to

CHARLES E. EDWARDS through mistreatment, abuse and neglect. The negligence of

Defendants, their employees, and consultants, includes, but is not limited to, one or more of the

following acts and omissions:

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oase: 4:07-ov-oo174.aP-EMB Doo #: 1-2 Fileol: 10/15/0.; of so PagelD #: 30

a) .'l`he failure to properly notify a doctor upon significant changes in

CHARLES E. EDWARDS’ condition;

b) The failure to provide adequate therapeutic and rehabilitative services to
maintain CHARLES;JIZ. EDWARDS’ mobility and range of motion and to prevent
contractures; h

c) The failure to respond to significant signs and symptoms of change in the
condition of CHARLES E. EDWARDS;

d) ` The failure to adequately and timely assess, monitor and/or treat the
development and progression of pressure sores and infection in CHARLES E.
EDWARDS;

e) The failure to provide proper custodial care, and wound care and to `
prescribe and administer proper medication to prevent CHARLES E. EDWARDS’
existing medical eonditions to worsen to the point of becoming life-threatening;

f) The failure to properly assess CHARLES E. EDWARDS for the risk of
development of pressure sores and infections;

g) The fail_ure to properly assess CHARLES E. EDWARDS for the risk of
falling;

h) The failure to provide adequate supervision for CHARLES E. EDWARDS
to prevent him from falling within the facility;

i) The failure to protect CHARLES E. EDWARDS from falling within the
facility;

j) The failure to develop, implement, and update an adequate and appropriate

resident care plan to meet the needs of CHARLES E. EDWARDS;

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